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United States District Court
District of Massachusetts

Camila Davalos et al.,
Plaintiffs,

Civil Action No.
21-11075-NMG

Vv.

Baywatch Inc. d/b/a Club Alex’s
Adult Entertainment,

Defendant.

MEMORANDUM & ORDER
GORTON, J.
Pending before the Court is plaintiff’s motion for
reconsideration (Docket No. 85). For the reasons that follow,

that motion will be allowed and this Court will, sua sponte,

certify a question to the Massachusetts Supreme Judicial Court
(“SJC”) as to the application of the discovery rule to
information posted on public social media pages.

I. Motion for Reconsideration

To prevail on a motion for reconsideration,

a party normally must demonstrate either that new and

important evidence, previously unavailable, has

surfaced or that the original judgment was premised on

a manifest error of law or fact.

Caribbean Mgmt. Group, Inc. v. Erikon LLC, 966 F.3d 35, 44-45

(lst Cir. 2020) (quoting Ira Green, Inc. v. Military Sales &

Serv. Co., 775 F.3d 12, 28 (lst Cir. 2014)).
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In allowing summary judgment as to the state law claims,
the Court was under the incorrect impression that the 365
“similar” cases that defendant identified involved the exact
same photographs at issue in the instant case. That assumption
was important to the Court’s decision not to address the issues
of whether public social media posts are “inherently unknowable”
or whether claims based on such posts are subject to the
discovery rule.

Instead, the Court assumed that the posts were inherently
unknowable and found that, in any event, plaintiffs did not meet
their burden of demonstrating that their lack of knowledge as to
the existence of the posts was objectively reasonable for the
purposes of tolling.

As plaintiffs have made the Court aware, the record does
not, however, establish that when the summary judgment motions
were filed, the similar cases filed by plaintiffs involved
identical photographs to those in dispute here. That correction
jeopardizes the Court’s conclusion that plaintiffs did not
satisfy their burden of demonstrating that their lack of
knowledge of the posts was objectively reasonable.

The unaddressed issues now need to be resolved before this
case goes forward and, in the meantime, this Court will vacate
its prior entry of summary judgment in favor of defendants on

the state law counts.
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II. Certification to the SJC

The SUC permits a federal court to certify a question of law
to it

if there are...questions of law of this State which may

be determinative of the cause then pending in the

certifying court and as to which it appears to the

certifying court there is no controlling precedent in

the decisions of this court.

Mass. S.J.C. R. 1:03; see also Easthampton Sav. Bank v. City of

Springfield, 736 F.3d 46, 50 (lst Cir. 2013).

Here, the Court concludes it is necessary and appropriate
to certify a question of law to the SJC. The correct
application of the discovery rule will be dispositive of all of
the state law claims in this case. If the discovery rule tolls
the statute of limitations, the state claims survive; if not,
those claims are time-barred. Furthermore, the discovery rule
as interpreted by the SJC will substantially inform this Court
as to whether laches bar the two federal law claims.

Finally, there is no controlling precedent on the issue.
In 2020, the Massachusetts Appeals Court held that an article
published on a local newspaper’s website would not be tolled by

the discovery rule. See Wolsfelt v. Gloucester Times, 155 N.E.3d

737, 745 (Mass. App. Ct. 2020). This Court is aware of no other
instance in which a Massachusetts appellate court has considered
the interaction of the discovery rule with materials on the

internet, let alone those published on social media platforms.
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ORDER
For the foregoing reasons:

1. The motion for reconsideration is, with respect to the
state law claims, ALLOWED. The Court hereby vacates its
Memorandum and Order (Docket No. 84).

2. The following question will be certified to the
Massachusetts Supreme Judicial Court (“SJC”):

Under what circumstances, if any, is material publicly
posted to social media platforms “inherently unknowable”
for purposes of applying the discovery rule in the
context of defamation, right of publicity, right to
privacy and related tort claims?

3. The Clerk of Courts will be directed to forward this
memorandum and order to the SJC under the seal of this
Court and to provide any portion of the record that the SJC
may require.

4. The case will be stayed (and the scheduled jury trial
postponed) pending receipt of a decision from the SJC in
accordance with this order.

5. The parties may submit objections to the sua sponte
certification, and / or the wording of the proposed
question, no later than the close of business on Friday,
December 22, 2023.

So ordered.

FD ecthou. kM bate

Nathaniel M. Gorton
United States District Judge

Dated: December 1S, 2023
